8:05-cr-00365-JFB-TDT        Doc # 111     Filed: 06/14/06   Page 1 of 2 - Page ID # 352




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )            8:05CR365
                     Plaintiff,                  )
                                                 )
       vs.                                       )             ORDER
                                                 )
MATTHEW J. LAYTON,                               )
                                                 )
                 Defendant.                      )


       On February 3, 2006, after granting the motion of counsel for defendant Matthew J.
Layton (Layton), the court ordered the defendant be committed to the custody of the
Attorney General for a competency examination pursuant to 18 U.S.C. §§ 4241 (Filing No.
61). The evaluation period was extended on March 7, 2006 (Filing No. 79) and on April 18,
2006 (Filing No. 84).
       The psychological evaluation was completed by the staff of the Federal Detention
Center, Seattle, Washington (FDC-Seattle). The evaluation was performed by Cynthia A.
Low, Ph.D. (Dr. Low), Forensic Studies Unit Psychologist, FDC-Seattle, and by Katherine
Skillestad, Ph.D. (Dr. Skillestad), Chief Psychologist, FDC-Seattle. The forensic evaluation
report, dated April 25, 2006 (Filing No. 85 - Sealed), was provided to counsel for the
government and the defendant. The defendant was returned to the District of Nebraska
for hearing.
       A competency hearing pursuant to 18 U.S.C. § 4247(d) was held on June 14, 2006.
The defendant was present together with his counsel, Kellie P. Asaka. The United States
was represented by Assistant U.S. Attorney Joe W. Stecher.
       The parties stipulated that the court receive and consider the report of Drs. Low and
Skillestad (Filing No. 16 - Sealed). Layton was afforded an opportunity to testify and to
present evidence or witnesses on his behalf. Layton declined to present any evidence. No
further evidence was presented by either side.




                                             1
8:05-cr-00365-JFB-TDT        Doc # 111      Filed: 06/14/06    Page 2 of 2 - Page ID # 353




       The FDC-Seattle forensic evaluation diagnoses Layton as follows: Axis I : 311.00 -
Depressive Disorder Not Otherwise Specified (NOS); 292.12 - Amphetamine-Induced
Psychotic Disorder, With Hallucinations, With Onset During Withdrawal; V65.2 -
Malingering; 303.90 - Alcohol Dependence, In A Controlled Environment; 304.40 -
Amphetamine Dependence, In A Controlled Environment; and 304.30 - Cannabis
Dependence, In a Controlled Environment; Axis II : No Diagnosis; Axis III: None. The
forensic evaluation was made on April 25, 2006, after observation and interviews with
Layton at FDC-Seattle after Layton’s arrival at that facility on March 2, 2006. Drs. Low and
Skillestad concluded Layton does not suffer from a mental disease or defect which would
interfere with Layton’s ability to understand the proceedings against him or assist counsel
in Layton’s defense. Drs. Low and Skillestad opined Layton was competent to stand trial.
       Based upon a review of the forensic report submitted, I find the defendant, Matthew
J. Layton, is mentally competent to stand trial, understands the nature of the proceedings
against him, and is able to assist in his own defense.


       IT IS ORDERED that, pursuant to 18 U.S.C. § 4241, the defendant, Matthew J.
Layton, is mentally competent to understand the nature and consequences of the
proceeding against him and to assist properly in his defense. This case shall now progress
in the ordinary course of a criminal proceeding in this district.
       DATED this 14th day of June, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge




                                              2
